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 7   IESHA RAINBOTH

 8
                            UNITED STATES DISTRICT COURT
 9
                                  DISTRICT OF ARIZONA
10

II   IESHA RAINBOTH                          Case No.:
12                  Plaintiff,               COMPLAINT AND DEMAND FOR
                                               RYTRIAL
13         vs.
                                             (Unlawful Debt Collection Practices)
14   GC SERVICES LIMITED
     PARTNERSHIP; and DOES 1 through           emand Does Not Exceed $10,000
15   10, inclusive,
16                  Defendants.
17

18

19
                     COMPLAINT AND DEMAND FOR JURY TRIAL
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21
                                   I.   INTRODUCTION
22
     1. This is an action for actual and statutory damages brought by piaintifflesha
23
     Rainboth, an individual consumer, against defendant GC Services Limited
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     Partnership, for violations ofthe law including, but not limited to, violations ofthe

 2   Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter
 3
     "FDCPA"), which prohibits debt collectors from engaging in abusive, deceptive,
 4
     and unfair practices.
 5

 6
                                    II.      JURISDICTION

 7   2. Jurisdiction of this court arises under 15 U.S.C. § 1692k(d), and 28 U.S.C. §
 8
     1331 and 1337. Venue in this District is proper in that the Defendant transacts
 9
     business here and the conduct complained of occurred here.
10

II                                        III.   PARTIES

12   3. Plaintiff, Iesha Rainboth is a consumer, a natural person allegedly obligated to
13
     pay any debt, residing in the state of Arizona.
14
     4. Defendant, GC Services Limited Partnership is a foreign limited partnership
15

16   engaged in the business of collecting debt in this state with its principal place of

17   business located in Harris County, in the state of Texas. The principal purpose of
18
     Defendant is the collection of debts in this state and Defendant regularly attempts
19
     to collect debts alleged to be due another.
20

21   5. Defendant is engaged in the collection of debts from consumers using the mail

22   and telephone. Defendant regularly attempts to collect consumer debts alleged to
23
     be due to another. Defendant is a "debt collector" as defined by the FDCPA, 15
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     U.S.C. § I 692a(6).

 2                          IV.    FACTUAL ALLEGATIONS
 3
     6. Upon information and belief, within one year prior to the filing of this
 4
     complaint, Defendant placed collection calls to Plaintiff, seeking and demanding
 5
 6   payment for an alleged consumer debt owed under an account number.

 7   7. The debt that Defendant is attempting to collect on is an alleged obligation of a
 8
     consumer to pay money arising out of a transaction in which the money, property,
 9
     insurance or services which are the subject of the transaction are primarily for
10

11   personal, family, or household purposes, whether or not such obligation has been

12   reduced to judgment.
13
     8. Upon information and belief, Defendant began contacting Plaintiff and placing
14
     collection calls to Plaintiff prior to September 13, 2012.
15

16   9. Upon information and belief, within one year prior to the filing of this

17   complaint, Defendant told Plaintiff that it would garnish her wages itself, when it
18
     cannot do so, and only the creditor can possibly seek to attain such a result.
19
20   Defendant has been threatened to garnish her wages itself for a lengthy period of

21   time.
22
     10. Upon information and belief, within one year prior to the filing ofthis
23
     complaint, Defendant continued to call Plaintiff while she worked, without her
24

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                                          COMPLAINT
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     consent, after having already been given reason to know that this inconvenienced
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 2   Plaintiff and/or was prohibited.
 3
     11. As a result of the acts alleged above, Plaintiff suffered emotional distress
 4
     resulting in her feeling stressed, and embarrassed, amongst other negative
 5

 6
     emotions.

 7                                V.    CLAIM FOR RELIEF
 8
     12. Plaintiff repeats and realleges and incorporates by reference to the foregoing
 9
     paragraphs.
10

11
     13. Defendant violated the FDCPA. Defendant's violations include, but are not

12   limited to, the following:
13
           (a) Defendant violated §1692f ofthe FDCPA by using unfair or
14
           unconscionable means in connection with the collection of an alleged
15

16         debt; and

17         (b) Defendant violated § 1692e(10) of the FDCPA by using false,
18
           deceptive, or misleading representation or means in connection with the
19
           collection of Plaintiff s alleged debt; and
20

21         (c) Defendant violated §1692e(2)(B) ofthe FDCPA by falsely
22
           representing the services rendered or compensation which may be lawfully
23
           received by the Defendant for the collection of the alleged debt; and
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 2         (d) Defendant violated § 1692e( 5) of the FDCP A by threatening to take

 3
           action that it did not intend to take; and
 4
           (e) Defendant violated § 1692e(4) ofthe FDCPA by giving the
 5

 6
           representation or implication that nonpayment of any debt will result in the

 7         garnishment of the wages of Plaintiff, without intending to take said action;
 8
           and
 9
           (f) Defendant violated § 1692a(3) by calling Plaintiffs place of
10

11         employment with knowledge or the reason to know that the consumer's

12         employer prohibits the consumer from receiving such communication,
13
           without the prior consent of Plaintiff given directly to Defendant or the
14
           express permission of a court of competent jurisdiction.
15

16   14. Defendant's acts as described above were done intentionally with the purpose

17   of coercing Plaintiff to pay the alleged debt.
18
     15. As a result of the foregoing violations ofthe FDCPA, Defendant is liable to the
19
     plaintiffIesha Rainboth for actual damages, statutory damages, and costs and
20

21   attorney fees.
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     WHEREFORE, Plaintiff respectfully requests that judgment be entered against

 2   defendant GC Services Limited Partnership, for the following:
 3
           A. Actual damages.
 4
           B. Statutory damages pursuant to 15 U.S.C. § 1692k.
 5

 6
           C. Costs and reasonable attorney fees pursuant to 15 U.S.C. § 1692k.

 7         D. For such other and further relief as the Court may deem just and proper.
 8
                              DEMAND FOR JURY TRIAL
 9
     Please take notice that piaintifflesha Rainboth demands trial by jury in this action.
10

11

12                                           RESPECTFULLY SUBMITTED,
13
       DATED:      September 26,             PRICE LAW GROUP APC
       2012
14                                           By:/s/ David Ali Chami
                                             David Ali Chami
15                                           Attorney for Plaintiff
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                                         COMPLAINT
